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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

 

Nop
EDWIN HARDEMAN, Case No. 16-cv-00525-VC
Plaintiff,
y VERDICT FORM
MONSANTO COMPANY,
Defendant. ‘

 

After you have reached your verdict, please fill out this form. After you have completed
the form, let the Courtroom Deputy know that you have reached a verdict, without saying what
the verdict is. The presiding juror should keep the form and bring it into the courtroom so that

the jury may announce the verdict.

Question 1: Did Mr. Hardeman prove by a preponderance of the evidence his claim that

Roundup’s design was defective? See Instruction Number 11.

Yes: x No:

Question 2: Did Mr. Hardeman prove by a preponderance of the evidence his claim that

Roundup lacked sufficient warnings of the risk of NHL? See Instruction Number 12.

Yes: ‘ No:

Question 3: Did Mr. Hardeman prove by a preponderance of the evidence his claim that
Monsanto was negligent by not using reasonable care to warn about Roundup’s NHL risk? See

Instruction Number 13.

Yes: } No:
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If you answered “no” to questions 1-3, please stop, sign the verdict form, and inform the
Courtroom Deputy that you have reached a verdict. If you answered “yes” to one or more of the

questions above, then please continue.

Question 4: What are Mr. Hardeman’s compensatory damages? See Instruction Number 15.

 

Past economic loss: $ 200,967.10
Past noneconomic loss: $ 3: Kobo, 66+.0
ao
c) a
Future noneconomic loss: $ 2,OW, 0 0

Question 5: Did Mr. Hardeman prove by clear and convincing evidence that he is entitled to

punitive damages? See Instruction Number 17.

Yes: x No:

Question 6: If you answered “yes” to the previous question, what amount do you award Mr.

Hardeman in punitive damages?

$ 45,000, 000'°?

Dated: 3/2 t/IF 2 Z mn

Presiding Juror

 

 
